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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

INNOVATOR ENTERPRISES, INC              )
153 Treeline Park, Suite 300            )
San Antonio, TX 78209-1880              )
                                        )
     Plaintiff                          )
                                        )
           v.                           )     Civil Action No.
                                        )
B. TODD JONES                           )
Acting Director                         )
Bureau of Alcohol, Tobacco,             )
Firearms & Explosives                   )
99 New York Avenue, N.E.                )
Washington, D.C. 20226                  )
                                        )
     Defendant                          )

                                  COMPLAINT

     1) This is an action for declaratory relief, pursuant to 28 U.S.C.

§ 2201(a), and for judicial review, pursuant to 5 U.S.C. § 701, et

seq., with respect to the application of 18 U.S.C. § 921(a)(24) to a

device designed by Plaintiff.

                           JURISDICTION AND VENUE

     2) This court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 as it arises under the laws of the United

States.

     3) Venue is proper in the District of Columbia, under 28 U.S.C. §

1391(e)(1)(A), as the defendant resides in the District of Columbia.

                                   PARTIES

     4) Plaintiff Innovator Enterprises, Inc is a Nevada corporation

which develops new technologies.

     5) Defendant B. Todd Jones is the acting director of the Bureau of


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Alcohol, Tobacco, Firearms & Explosives (hereinafter "ATF"), of which

the   Firearms    Technology    Branch    (“FTB”)   is   part   and    which   Jones

supervises, directs, and oversees.

                                 APPLICABLE LAW

      6) For purposes of the regulation of the possession and transfer

of firearms under the Gun Control Act of 1968, 18 U.S.C. § 921, et

seq., the term "firearm" includes “any firearm muffler or firearm

silencer . . . .”      18 U.S.C. § 921(a)(3)(C).

      7) The terms "firearm silencer" and "firearm muffler" mean:

      any device for silencing, muffling, or diminishing the report
      of a portable firearm, including any combination of parts,
      designed or redesigned, and intended for use in assembling or
      fabricating a firearm silencer or firearm muffler, and any
      part intended only for use in such assembly or fabrication.

18 U.S.C. § 921(a)(24).

                                       FACTS

      8) Plaintiff designed and built a device it named a “Stabilizer

Brake” which attaches to the muzzle of a rifle and which, according to

its patent, “substantially reduces recoil, reduces muzzle rise, and

redirects noise away from the shooter toward the target.”                        Copy

attached.      The “Stabilizer Brake” does not reduce total sound, but

increases sound at the front of the rifle and decreases sound at the

shooter’s position.

      9) By letter of August 2, 2012, Plaintiff requested that ATF’s FTB

evaluate    Plaintiff’s    “Stabilizer     Brake”   to   determine     whether   FTB

believed the “Stabilizer Brake” to be a firearm muffler or firearm

silencer within the meaning of 18 U.S.C. § 921(a)(24).                A copy of the


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letter is attached.

     10) By letter of September 14, 2012 (copy attached), the FTB took

the position that the “Stabilizer Brake” was a firearm muffler or

firearm silencer within the meaning of 18 U.S.C. § 921(a)(24) solely

because it “incorporates an expansion chamber, a ported inner tube, and

an end cap, which are characteristics of known firearm silencers.”

     11) The FTB conducted no test of the “Stabilizer Brake” to

determine if it silenced, muffled, or diminished the report of a

portable firearm because its position on whether a device is a firearm

muffler   or    firearm   silencer    within   the   meaning   of   18     U.S.C.   §

921(a)(24) is “based solely upon the physical characteristics of the

device under examination.”        Letter of September 14, 2012.

                                     COUNT I

     12) Paragraphs 1-11 are incorporated herein by reference.

     13) Contrary to the FTB’s position, the “Stabilizer Brake” is not

a firearm muffler or firearm silencer within the meaning of 18 U.S.C.

§ 921(a)(24) because it is not a device for silencing, muffling, or

diminishing the report of a portable firearm; it merely increases sound

at the front of the rifle and decreases sound at the shooter’s

position.

     14) 28 U.S.C. § 2201(a) provides in pertinent part:

     In a case of actual controversy within its jurisdiction, . .
     . . , any court of the United States, upon the filing of an
     appropriate pleading, may declare the rights and other legal
     relations of any interested party seeking such declaration,
     whether or not further relief is or could be sought. Any
     such declaration shall have the force and effect of a final
     judgment or decree and shall be reviewable as such.


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     15) There is an actual controversy between the parties concerning

the application of 18 U.S.C. § 921(a)(24) to the “Stabilizer Brake.”

                                    COUNT II

     16) Paragraphs 1-15 are incorporated herein by reference.

     17) 5 U.S.C. § 702 provides that “[a] person suffering legal wrong

because of agency action, or adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to

judicial review thereof.”

     18) 5 U.S.C. § 704 provides in pertinent part that “final agency

action for which there is no other adequate remedy in a court are

subject to judicial review.”

     19) 5 U.S.C. § 551(13) provides that “‘agency action’ includes the

whole or a part of an agency rule, order, license, sanction, relief, or

the equivalent or denial thereof, or failure to act . . . .”

     20) 5 U.S.C. § 551(4) defines a “rule” as “the whole or a part of

an agency statement of general or particular applicability and future

effect designed to implement, interpret, or prescribe law or policy .

. . .”

     21) The FTB letter of September 14, 2012 is a “rule” as defined in

5 U.S.C. § 551(4) and is thus “agency action” as defined in 5 U.S.C. §

551(13).

     22) The FTB letter of September 14, 2012 constitutes “final agency

action” because it was the consummation of ATF’s decision-making

process concerning whether the “Stabilizer Brake” is a firearm muffler

or firearm silencer within the meaning of 18 U.S.C. § 921(a)(24) in


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that it was not of a merely tentative or interlocutory nature and

because it is an action by which rights or obligations have been

determined.

      23) The FTB’s determination in its letter of September 14, 2012

was arbitrary and capricious, and not in accordance with law.

      WHEREFORE, Innovator Enterprises, Inc prays that this court: 1)

declare that the “Stabilizer Brake” is not a firearm muffler or firearm

silencer within the meaning of 18 U.S.C. § 921(a)(24); 2) hold unlawful

and   set   aside    the   FTB’s   determination    as   it   is   arbitrary   and

capricious, and not in accordance with law; and 3) award such other

relief, including costs and attorney’s fees pursuant to 28 U.S.C. §

2412, as appropriate.



                                          Respectfully submitted,

                                          Innovator Enterprises, Inc
                                          By counsel


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